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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION


 UNITED STATES OF AMERICA,                      CR 21-63-BLG-SPW


                         Plaintiff,
                                                PRELIMINARY ORDER OF
           vs.                                  FORFEITURE


 BRIAN DEAN PRETTY WEASEL,

                         Defendant.




      WHEREAS,in the indictment in the above case, the United States sought

forfeiture of property, pursuant to 18 U.S.C. § 924(d), any firearms and

ammunition involved in any knowing violation ofsaid offense;

      AND WHEREAS,on November 18, 2021,the defendant entered a plea of

guilty to the sole count ofthe indictment, which was accepted by this Court on

December 2, 2021, which charged him with prohibited person in possession ofa

firearm in violation of 18 U.S.C.§ 922(g)(1);

      AND WHEREAS,the indictment contained a forfeiture allegation that

stated that as a result ofthe offense charged in the indictment, the defendant shall

forfeit the following property:

         • 6 rounds of assorted ammunition, GAL 556;

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